     Case 3:16-cv-03495-D Document 10 Filed 03/31/17                  Page 1 of 2 PageID 172


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
                         _____________________________________

GEORGE ANIBOWEI,

        Plaintiff,

v.                                                     Civil Action No. 3:16-CV-3495-D

LORETTA LYNCH, Attorney General of
the United States, in her official capacity,
et al.,

        Defendants.

NOTICE OF MOOTNESS OF MOTION TO DISMISS ORIGINAL COMPLAINT

        The defendants previously filed a motion to dismiss (Doc. 5) directed at the

original complaint filed by plaintiff George Anibowei (Doc 1). Anibowei has since filed

a first amended complaint (Doc. 8). Accordingly, the defendants’ motion to dismiss

directed at the original complaint would appear to be moot. The defendants intend to file

a renewed motion to dismiss directed at the first amended complaint, and anticipate doing

so within 14 days of the date the first amended complaint was served (accounting for Fed.

R. Civ. P. 6’s extension provisions; the first amended complaint was filed and served on a

weekend).




Notice of Mootness of Motion to Dismiss Original Complaint – Page 1
    Case 3:16-cv-03495-D Document 10 Filed 03/31/17                   Page 2 of 2 PageID 173


                                                        Respectfully submitted,

                                                        JOHN R. PARKER
                                                        United States Attorney

                                                        /s/ Brian W. Stoltz
                                                        Brian W. Stoltz
                                                        Assistant United States Attorney
                                                        Texas Bar No. 24060668
                                                        1100 Commerce Street, Third Floor
                                                        Dallas, Texas 75242-1699
                                                        Telephone: 214-659-8626
                                                        Facsimile: 214-659-8807
                                                        brian.stoltz@usdoj.gov

                                                        Attorneys for Defendants

                                        Certificate of Service

        On March 31, 2017, I electronically submitted the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                                        /s/ Brian W. Stoltz
                                                        Brian W. Stoltz
                                                        Assistant United States Attorney




Notice of Mootness of Motion to Dismiss Original Complaint – Page 2
